Case 1:23-cv-01159-LJV Document 1 Filed 11/06/23 Page 1 of 13

238 CV 1159-V

Revised 03/06 WDNY UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

FORM TO BE USED IN FILING A CIVIL COMPLAINT IN FEDERAL COURT
(Non-Prisoner Context)

All material filed in this Court is now available via the INTERNET. See Pro Se Privacy Notice for further information.

1. CAPTION OF ACTION

A. Full Name of Plaintiff: NOTE: [fmore than one plaintiff files this action and seeks in forma pauperis status, each plaintiff
must submit an in forma pauperis application or the only plaintiff to be considered will be the PIONEER n application.

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-VS-

B. Full Name(s) of Defendant(s) NOTE: Pursuant to Fed.R.Civ.P. 10(a), the names ofall parties must appear in the caption.
The court may not consider a claim against anyone not identified in this section as a defendant, Add a separate sheet, if necessary.

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3. Roly Ste imhaas 6.

2. STATEMENT OF JURISDICTION, VENUE and NATURE OF SUIT
All of these sections MUST be answered

Identify the basis for federal Court jurisdiction over your claim, such as that the United States government is a party to the action, all the
parties reside in different states and therefore you claim diversity jurisdiction, or the claim presents a federal question or arises under

federal law.

A. Basis of Jurisdiction in Federal Court: Q CG Se Linh A <O LA er«\ la UW)

State why the Western District of New York is the proper venue for this action, such as that your claim arises in or the defendant resides

in the 17 westernmost counties of New York State.

B. Reason for Venue in the Western District: C\ \\ chiss Re esideS INS Westenns
_N SAN) work CounN\es

Identify the nature of this action, such as that itis a civilrights claim, a personal injury or personal property (tort) claim, a property rights

claim, or whatever it is.

C. Nature of Suit: Ci Ui ight = C Vat nN

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3. PARTIES TO THIS ACTION

PLAINTIFF’S INFORMATION NOTE: 7o list additional plaintiffs, use this format on another sheet of paper.

Name of First Plaintiff, Nuc \ ne \ Uy \ ocr,
Present Address: “XM \ NL ic ott Si. “trek, Qo g

Name of Second Plaintiff:

Present Address:

DEFENDANT’S INFORMATION NOTE: 1o list additional defendants, use this format on another sheet of paper.

Name of First Defendant:_|=, (ere ny LL. oO Qs d ON)

Official Position of Defendant (if relevant): VALI a Cc
Address of Defendant:_L} NO Solhw Tames Cuddy bo NJ O KW lay
Pooler st AS wy \4DR2aB

Name of Second Defendant: Rata RBusc trom \s a
Official Position of Defendant (if relevant): Bona \wers) Town) Conor \ Dv dg ec.
Address of Defendant: H9 QO Da\ vw) Dames Aid ben Pp b i 4

Aoolversh Niu. \ADRaXxS

Name of Third Defendant: ® ok Sites ays CANS
Official Position of Defendant (if relevant):__( Lyr+or AL Bis,
Address of Defendant: “32O 5 (rain) Si Bas} CAUCO Ca Al iy. KHOR DW

4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT

A. Have you begun any other lawsuits in state or federal court dealing with the same facts involved in this action?

Yes| Na

If Yes, complete the next section. NOTE: Jf you have brought more than one lawsuit dealing with the same facts as this
action, use this format to describe the other action(s) on another sheet of paper.

1. Name(s) of the parties to this other lawsuit:

Plaintiff(s):

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Defendant(s):

2. Court (if federal court, name the district; if state court, name the county):

Docket or Index Number:

Name of Judge to whom case was assigned:

The approximate date the action was filed:

nw PF Ww

What was the disposition of the case?

Is it still pending? Ye No

If not, give the approximate date it was resolved.

Disposition (check those statements which apply):

Dismissed (check the statement which indicates why it was dismissed):

By court sua sponte as frivolous, malicious or for failing to state a claim
upon which relief can be granted;

By court for failure to prosecute, pay filing fee or otherwise respond to a
court order;

By court due to your voluntary withdrawal of claim;

Judgment upon motion or after trial entered for

[J plaintiff
[_] defendant.

5. STATEMENT OF CLAIM

Please note that it is not enough to just list the ground(s) for your action. You must include a statement of the facts which
you believe support each of your claims. In other words, just tell the story of what happened and do not use legal jargon.

Fed.R.Civ.P. 8(a) states that a pleading must contain "a short and plain statement of the claim showing that the pleader is
entitled to relief." "The function of pleadings under the Federal Rules is to give fair notice of the claim asserted. Fair notice
is that which will enable the adverse party to answer and prepare for trial, allow the application of res judicata, and identify
the nature of the case so it may be assigned the proper form of trial." Simmons v. Abruzzo, 49 F.3d 83, 86 (2d Cir. 1995).

Fed.R.Civ.P. 10(b) states that “{a]ll averments of claim ... shall be made in numbered paragraphs, the contents of each of
which shall be limited as far a practicable to a single set of circumstances.”

A. FIRST CLAIM: On (date of the incident) Fe ly Jara} Hn, sO 71 ;

defendant (give the name and (if relevant) the position held of each defendant involved i in this incident) EE. i\ eenl

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Case 1:23-cv-01159-LJV Document1 Filed 11/06/23 Page 4 of 13

did the following to me (briefly state what each defendant named above did): \)WSasS de 1 Ne DR Wea

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The federal basis for this claim is: Ty +\e \S \)LS. C.- ] 9 ect ony AAD US. Ca de
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State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:

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reguacd Por Fhe law Ske Uses the Coort Yor Ler Personal Grads Ficara)

B. SECOND CLAIM: On (date of the incident) \ + ‘AS et Naveen by eC } a Oo 3

defendant (give the name and (if relevant) position held of each defendant involved in this incident) FE OAR

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did the following to me (briefly state what each defendant named above did): \_A\n \. try ce, Th: Ss CAS@

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The federal basis for this claim is: {% \).D.C. ' Seesion AYR i US.Ce d re \50 ly

State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:

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If you have additional claims, use the above format to set them out on additional sheets of paper.

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6. SUMMARY OF RELIEF SOUGHT

Summarize the relief requested by you in each statement of claim above.

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Do you want a jury trial? Yes No

I declare under penalty of perjury that the foregoing is true and correct.

Executed on l Uf 5190 a 3

(date)

NOTE: Each plaintiff must sign this complaint and must also sign all subsequent papers filed with the Court.

Mia Ko

Signature(s) of Plaintiff(s)
Case 1:23-cv-01159-LJV Document 1 Filed 11/06/23 Page 7 of 13

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ERIE COUNTY SHERIFF’S OFFICE
10 Delaware Ave.
Buffalo, NY 14202
Phone: (716) 858-7618 Fax: (716) 858-7680

WILLIAM J, COOLEY
UNDERSHERIFF
(716) 858-7614

JOHN C. GARCIA
SHERIFF
(716) 858-7608

Date:_ 10.29.2024

To whom it may concern:

This letter will Introduce _ U2ortnuy.. Michael , Cate of birth (p10. [Alo

This person was incarcerated at the Erie County Holding Center / Erie County Correctional Facility on 5017
11.200 te 15.2019 95.24.2011 to ble.2011 \2.49.2011 to 2.10.2
214-2017 to 217-2011 | 1.2.20% to &. 29.20 | 2-9.20lle to 14.2016
4-120 to 4-12.20. | Sle.201l6 te 23.21.2014

From to : , then was subsequently

released by a Judge or Justice, of the City, Town, Village, County of Erie, Supreme Court, State of New

the following dates:

York.

‘ Sincerely,

CTPH

Records and Booking

JMD 06-002 (06/18)
Case 1:23-cv-01159-LJV Document 1 Filed 11/06/23 Page 10 of 13

New York State Unified Court System

Date of report: 2/10/17
Report Period Covering :

Drug Court Treatment Progress Form

0 | to
ro
CLIENT INFO
Name Drug of Choice Date of Admission Est. Date of Completion DKt#/SCl# (Court use only)
| Worthy, Michael | cannabis | Pending first visit 1/9/17 | | To be determine | |
COURT INFO
Court Case Manager Telaphone Fax
| Buffalo | Eileen Logsdon __| 716 689-4255 716 929-9109
TREATMENT AGENCY RECOMMENDATION
Treatment Agency Name Type/Modality Preparers Slenature bdMalntain Current Tx. Status
| ECMC-Downtown Clinic | Outpatient [ Carl Carter | | [JReferral for Additional Services
C)Consider for Completion
Program Counselor Program Contact Contact Telephone (JRevise Treatment Plan

Carl Carter MS, BSW, CASAC

same

| 716-961-6968

| L]Being Considered for Discharge

TREATMENT SCHEDULE / TREATMENT ATTENLAIN J! p~present, e=exousea, a=absent, [late (attendance not required for residential.

Month Days/Wk (check) 1 2.3 3 6 7 8 9 10 1] 12 13 14. 15 16
February MT WTF § :
Boe ORO PeiP |? iP
# Sessions/wk # hrs/wk 17-18 =19 20 22 22 23.24 =25 ~—26 27 28 29 30.31
TREATMENT AREAS TOXICOLOGY (P=positive, N=Negative, L=Lab Pending)
(NA=not applicable; E=Excellent, GaGood, I=Improved, NI=No
{mproyement)
Date Amp | Barb | Bez | Coc Meth | Opl | Oxy Sub THC BAC
Treatment Areas N/A E G ! NI ma
Attitude toward treatment OO® O OO WIT |N |N |N |N |N |N [NIN N HP | 00
Stability of Med/Psyoh Health 0 O fB O OO not |N |N IN IN IN IN IN IN IN HP | 00
7
Status of Entitlements OOO oO Og 2/6/1 HP
7
Family System Status OOo 8 uo Oo
Participates in all aspects of Oo O8® O Qa
program
Key: THCeTHC; HER® heroin, COC=cacaine; BEZ=benzodiazepines; AMP=amphetamines;

PCP=PCP; ALC~ aleohol; METHemarhndona; BARBsbarbiturates; PM=preseription medivation

TREATMENT SUMMARY/COMMENTS

se be specific and jnclude recommendations, aftercare information, and other relevant progress._Include pragram’s response to

identified problems, changes in treatment plan, achievements, and issues with which the court may be able to assist
DX: Cannabis

Michael arrived for scheduled 1:1 session on 2/6/17. He is referred to Stabilization Group 5x per week due to
experiencing cannabis use. He appeared calm and cooperative at this point. He did say his plans are to comply
with Drug Court and complete outpatient treatment as required. Client will continue to be monitored in treatment.

Next 1:1 session is 2/16/17 at 12:30 pm.

# This writer called Med Lab regarding cannabis values for 1/9/17 and 1/26/17; 1/9/17 is 179; 1/26/17 is 160.
Tox Report for 2/6/17 notin yet. #1 called again 2/10/17, levels are 113 for 2/6/17.

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Date of report: 2/21/17

New York State Unified Court System Report Period Covering: See Corrections
Drug Court Treatment Progress Form Below.
[0 [0
0
CLIENT INFO
Name Drug of Choice Date of Admission Est. Date of Completion DK14/SCI# (Court use only)
| Worthy, Michael cannabis | | Pending first visit 1/9/17 | | To be determine
COURT INFO
Court Case Manager Telephone Fax
[Buffalo | Eileen Logsdon | 716 689-4255 716 929-9109
TREATMENT AGENCY RECOMMENDATION
Treatment Agency Name Type/Modality Preparer's Signature fJMaintain Current Tx. Status
| ECMC-Downtown Clinic | Outpatient | Carl Carter | [_|Referral for Additional Services
[Consider for Completion
Program Counselor Program Contact Contact Telephone (_JRevise Treatment Plan
| Carl Carter MS, BSW, CASAC | same | 716-961-6965 (JBeing Considered for Discharge
TREATMENT SCHEDULE / TREATMENT ATTENDANCE p-presont, cmexcused, amabsent, iFiate (attendance not required for residential,
Month Days/Wk (cheok) I 2. 3 4 5 6 7 8 9 10 ll 1213 14. 15 16
r MT WTF S
February BORO p p |p |p c p e e je
# Sessions/wk # hrs/wk 17. 18 I9 20 21 22 23 24 25 26 27 28 29 30.31
rrieitiletltttdt | tT tT ll
TREATMENT AREAS TOXICOLOGY (P=positive, N=Negative, L=Lab Pending)
(NA=not applicable; E=Excellent, G«Good, I=Improved, NI=No
improvement)
Date Amp | Barb | Bez | Coa | Md Math | Op! | Oxy Sub THC BAC
Treatment Areas NA E G | NI ma
Attitude toward treatment Oo oO Oo oO v7 |N |N |N |N |N IN [NIN N HP | 00
Stability of Med/Psych Health oO BOD NIN |INININ [IN |N {IN IN N 00
Status of Entitlements Dod 8 OQ
Family System Status Ooo B O O
Participates in all aspects of OO B® O O
program
Key: THC=THC; HER- heroin; COC=coeaines BEZ#banzodiazepines; AMampheramines;

PCP~PCP: ALC= alcohol; METHemothndone; BARB=barbiturates; PMe=presoription medication

TREATMENT SUMMARY/COMMENTS

(Please be specific and include recommendations, aftercare information, and other relevant progress. Include programn’s response to

identified problems, changes in treatment plan, achievemegts, and issues with which the court may be able to assist
DX: Cannabis

Michael arrived for unscheduled 1:1 session. He reported that he was sanctioned by the court because

their tox reports indicated that he was still using. He spent 4 days in jail, and wanted a copy of his tox

screens to check if reports from the DTC were the same as Amherst Court. Other than that, he said everything else
+s ok. 1 did inform him that I need to see supervisor about release of information and to reschedule him for
Stabilization Group. He left urine sample. Next 1:1 session is Thursday March 2, 2017 at 9 am.

Corrections made on this sheet 2/6/17 HP cannabis.

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— Downtown Clinic
1285 Main Street = Buffalo. New York 14209

Presents this

AWARD OF ACHIEVEMENT
TO
Michael Worthy

Upon successful completion of

At ECMC - Downtown Clinic Outpatient Program

Congratulations!

eee ‘ Cu IP (ck Ca gae Shy;
17

DATE COUNSELOR

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JS 44 (Rev. 10/20)

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Case 1:23-cv-01159-CIVIDCCONESRLS HIET1/06/23 padi fi 1159

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I (@) PLAINTIFFS \\—\ o\ Worthy, DEFENDANTS f.., \ ze/9 Logsdon

OLr Buscaglhn
Ob Straw haus
County of Residence of Fifst Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

En 2

(b) County of Residence of First Listed Plaintiff Bee e_
(EXCEPT IN U.S. PLAINTIFF CASES)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)

Il. BASIS OF JURISDICTION (Place an “X” in One Box Only) II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) , and One Box for Defendant)
[_]1 U.S. Government mG Federal Question P DEF PTF D
Plaintiff (U.S. Government Not a Party) Citizen of This State ] 1 Incorporated or Principal Place CL 4 4
of Business In This State
[_]2 U.S. Government Diversity Citizen of Another State []2 [€] 2. Incorporated and Principal Place [i5 (5s
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a [13 [] 3. Foreign Nation Lie (Je
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane [_] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | | 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability C 367 Health Care/ 400 State Reapportionment
CL] 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act | 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability C 368 Asbestos Personal 835 Patent - Abbreviated |__| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
C] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud | 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
LI 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act | 485 Telephone Consumer
Dx 190 Other Contract Product Liability LC 380 Other Personal |_| 720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
CI 196 Franchise Injury O 385 Property Damage 4 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
|_| 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) |__ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |_|790 Other Labor Litigation [| 865 RSI (405(g)) | 891 Agricultural Acts
|_}|210 Land Condemnation 440 Other Civil Rights Habeas Corpus: | _]791 Employee Retirement 893 Environmental Matters
[ 220 Foreclosure 441 Voting | | 463 Alien Detainee Income Security Act FEDERAL TAX SUITS 895 Freedom of Information
_| 230 Rent Lease & Ejectment 442 Employment | | 510 Motions to Vacate [| 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
|_| 245 Tort Product Liability Accommodations |] 530 General [_] 871 IRS—Third Party 4 899 Administrative Procedure
[_]290 All Other Real Property 445 Amer. w/Disabilities -[__] 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place an “X” in One Box Only)
1 Original 2 Removed from
Proceeding State Court

8 Multidistrict
Litigation -
Direct File

6 Multidistrict
Litigation -
Transfer

Ol 3 Remanded from

C4 Reinstated or Oo 5 Transferred from
Appellate Court

Reopened Another District
(specify)

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION

Brief description of cause: .
Eals.
CHECK IF THIS IS A CLASS ACTION

Eine, Coott Recs aud conispimctato covet UP
DEMAND $ 5 060/006 CHECK YES only if demanded in complaint:

VII. REQUESTED IN

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Ayes [JNo
VIII. RELATED CASE(S)
IF ANY (See msirnenons): GE DOCKET NUMBER
DATE SIGNAT OF ATTORNEY OF RE@ORD =
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FOR OFFICE USE ONLY |
RECEIPT # AMOUNT APPLYING IFP JUDGE s MAG. JUDGE

